                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )      Criminal Case No. 22-cr-00007-LKG
                                                )
 MARILYN J. MOSBY,                              )      Dated: November 15, 2023
                                                )
         Defendant.                             )
                                                )

                              PRE-TRIAL SCHEDULING ORDER
        The Court, with the assistance of the parties, establishes the following schedule for trial
and pre-trial proceedings:


      Motion(s) in limine due                                December 15, 2023

      Responses to motion(s) in limine                       December 22, 2023

      Replies to motion(s) in limine; proposed voir dire;
      revised proposed jury instructions; and a proposed
      jury verdict form. In preparing proposed voir dire,
      proposed jury instructions, and a proposed jury
      verdict form, counsel shall meet and confer and, to
      the fullest extent possible, make a joint submission.
      Counsel shall identify any matters of disagreement
      through supplemental filings                          December 29, 2023

      Pre-trial status conference and hearing on motion(s)
      in limine                                            January 5, 2024, at 2:00 pm, in
                                                           Courtroom 4C of the U.S. District
                                                           Court, Southern Division, 6500
                                                           Cherrywood Lane, Greenbelt, MD
                                                           20770

      Final pre-trial status conference                      January 12, 2024, at 2:00 pm, in
                                                             Courtroom 4C of the U.S. District
                                                             Court, Southern Division, 6500
                                                             Cherrywood Lane, Greenbelt, MD
                                                             20770.
Jury selection                 January 16, 2024, at 9:30 am, in
                               Courtroom 4C of the U.S. District
                               Court, Southern Division, 6500
                               Cherrywood Lane, Greenbelt, MD
                               20770.


Jury trial                     January 18, 2024, at 9:30 am, in
                               Courtroom 4C of the U.S. District
                               Court, Southern Division, 6500
                               Cherrywood Lane, Greenbelt, MD
                               20770.


  IT IS SO ORDERED.


                      s/ Lydia Kay Griggsby
                      LYDIA KAY GRIGGSBY
                      United States District Judge




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